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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

GEORGIA-PACIFIC CONSUMER                    )
PRODUCTS LP,                                )
FORT JAMES CORPORATION, and                 )
GEORGIA-PACIFIC LLC,                        )
                                            )
              Plaintiffs,                   )
                                            )       No: 1:11-cv-00483
       v.                                   )
                                            )       Judge Robert J. Jonker
NCR CORPORATION,                            )
INTERNATIONAL PAPER CO.,                    )
and WEYERHAEUSER CO.,                       )
                                            )
              Defendants.                   )


                    ORDER STAYING ACTIVITY PENDING APPEAL


       Having considered the Joint Motion filed by Plaintiffs Georgia-Pacific Consumer

Products LP, Fort James Corporation, and Georgia-Pacific LLC, and Defendants International

Paper Company and Weyerhaeuser Company,

       IT IS ORDERED that, effective immediately, all deadlines in the above-captioned

proceeding are stayed pending final adjudication in the Supreme Court of the United States.



       IT IS SO ORDERED.



Dated: August 10, 2022                               /s/ Robert J. Jonker
                                                    __________________________
                                                     Robert J. Jonker
                                                     United States District Judge
